                                                                                                                         Case 2:22-cv-10620-TGB-KGA ECF No. 1, PageID.1 Filed 03/23/22 Page 1 of 12




                                                                                                                                              UNITED STATES DISTRICT COURT
                                                                                                                                          FOR THE EASTERN DISTRICT OF MICHIGAN
                                                                                                                                                   SOUTHERN DIVISION

                                                                                                                     ASSOCIATED INDUSTRIES INSURANCE
                                                                                                                     COMPANY, INC.                                           Case No.
                                                                                                                                                                             Hon.
                                                                                                                             Plaintiff,

                                                                                                                     v

                                                                                                                     PLAKA RESTAURANT, LLC, SIDNEY
                                            1050 WILSHIRE DRIVE, SUITE 320, TROY, MICHIGAN 48084-1526 248-649-7800




                                                                                                                     O’DONNELL, ROSS O’DONNELL, D&L
                                                                                                                     SECURITY SOLUTIONS, LLC, and LACEY
               A PROFESSIONAL CORPORATION




                                                                                                                     POLLARD,

                                                                                                                             Defendants.
                                                                                                                     _____________________________________________________________________________/
HARVEY KRUSE




                                                                                                                     Michael F. Schmidt P25213
                                                                                                                     Attorney for Plaintiff
                                                                                                                     1050 Wilshire Drive, Suite 320
                                                                                                                     Troy, MI 48084
               ATTORNEYS & COUNSELORS




                                                                                                                     (248) 649-7800
                                                                                                                     (248)649-2316 (fax)
                                                                                                                     mschmidt@harveykruse.com
                                                                                                                     _____________________________________________________________________________/

                                                                                                                             A civil action involving parties arising out of the transaction or
                                                                                                                             occurrence alleged in the complaint has been previously filed in
                                                                                                                             Wayne County Circuit Court. The action is entitled Sidney O’Donnell
                                                                                                                             and Ross O’Donnell v Plaka Restaurant, LLC, D&L Security
                                                                                                                             Solutions, LLC and Lacey Pollard, Civil Action Number 21-013910-
                                                                                                                             NO and assigned to Judge Annette J. Berry.

                                                                                                                                               DECLARATORY COMPLAINT

                                                                                                                                                DEMAND FOR JURY TRIAL


                                                                                                                                                             1
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                                                                                                                           NOW COMES the plaintiff, ASSOCIATED INDUSTRIES INSURANCE

                                                                                                                     COMPANY, INC., by and through its attorneys, HARVEY KRUSE, P.C., and for

                                                                                                                     its declaratory complaint states as follows:

                                                                                                                           1.     The plaintiff, Associated Industries Insurance Company, Inc.

                                                                                                                     (“Associated Industries Insurance”) is incorporated in the State of Florida with its

                                                                                                                     principal place of business located in Boca Raton, Florida, and which conducts
                                            1050 WILSHIRE DRIVE, SUITE 320, TROY, MICHIGAN 48084-1526 248-649-7800




                                                                                                                     business in Wayne County, Michigan.
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                                                                                                                           2.     The defendant, Plaka Restaurant, LLC (“Plaka Restaurant”) is a

                                                                                                                     Michigan limited liability company with its principal place of business located in
HARVEY KRUSE




                                                                                                                     Wayne County, Michigan, and which conducts business in Wayne County,

                                                                                                                     Michigan.
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                                                                                                                           3.     The defendant, Sidney O’Donnell, is a resident of Oakland County,

                                                                                                                     Michigan.

                                                                                                                           4.     The defendant, Ross O’Donnell, is a resident of Oakland County,

                                                                                                                     Michigan.

                                                                                                                           5.     The defendant, D&L Security Solutions, LLC, is a Michigan limited

                                                                                                                     liability company with its principal place of business located in Wayne County,

                                                                                                                     Michigan.

                                                                                                                           6.     The defendant, Lacey Pollard, is a resident of Wayne County,

                                                                                                                     Michigan.


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                                                                                                                           7.     The amount in controversy is in excess of $75,000, exclusive of

                                                                                                                     interest and costs.

                                                                                                                           8.     There is jurisdiction in the U.S. District Court pursuant to 28 USC

                                                                                                                     §1332(a) because this case involves a controversy between citizens of different

                                                                                                                     states, the plaintiff is incorporated in the State of Florida, with its principal place of

                                                                                                                     business located in Boca Raton, Florida, and the defendants are Michigan limited
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                                                                                                                     liability companies with their principal place of business located in Michigan, the
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                                                                                                                     individual defendants are residents of the State of Michigan, and the amount in

                                                                                                                     controversy exceeds the sum of $75,000, exclusive of interest and costs.
HARVEY KRUSE




                                                                                                                           9.     This is a claim for declaratory relief brought by the plaintiff,

                                                                                                                     Associated Industries Insurance, to determine that it has no duty to provide
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                                                                                                                     insurance coverage or a defense to the defendant Plaka Restaurant, LLC for any

                                                                                                                     claims made against it in the underlying action filed by Sidney O’Donnell and

                                                                                                                     Ross O’Donnell v the Plaka Restaurant, LLC d/b/a Level Two, D&L Security

                                                                                                                     Solutions, LLC and Lacey Pollard, Wayne County Circuit Court, State of

                                                                                                                     Michigan, Civil Action No. 21-013910-NO, (hereinafter referred to as the

                                                                                                                     “underlying action” and a copy of the First Amended Complaint in the underlying

                                                                                                                     action is attached hereto as Exhibit 1).

                                                                                                                           10.    Associated Industries Insurance issued a Commercial General

                                                                                                                     Liability Policy to Plaka Restaurant, LLC, 535 Monroe St., Detroit, MI 48226,


                                                                                                                                                                 3
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                                                                                                                     policy number AES1205232 00 with a policy period from 12/13/2020 to

                                                                                                                     12/13/2021, hereinafter referred to as the “Associated Industries Insurance Policy.”

                                                                                                                     (A copy of the policy is attached hereto as Exhibit 2).

                                                                                                                           COUNT I – ASSOCIATED INDUSTRIES INSURANCE POLICY

                                                                                                                           22.    The plaintiff hereby repeats and realleges all of the allegations

                                                                                                                     contained in all of the other paragraphs of this declaratory complaint as though set
                                            1050 WILSHIRE DRIVE, SUITE 320, TROY, MICHIGAN 48084-1526 248-649-7800




                                                                                                                     forth fully herein.
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                                                                                                                           23.    The Associated Industries Insurance Policy provides the following

                                                                                                                     Insuring Agreement for Coverage A BODILY INJURY AND PROPERTY
HARVEY KRUSE




                                                                                                                     DAMAGE LIABILITY:

                                                                                                                           SECTION I – COVERAGES

                                                                                                                           COVERAGE A BODILY INJURY AND PROPERTY
               ATTORNEYS & COUNSELORS




                                                                                                                           DAMAGE LIABILITY

                                                                                                                           1.     Insuring Agreement

                                                                                                                                  a.       We will pay those sums that the insured becomes legally obligated
                                                                                                                                           to pay as damages because of "bodily injury" or "property damage"
                                                                                                                                           to which this insurance applies. We will have the right and duty to
                                                                                                                                           defend the insured against any "suit" seeking those damages.
                                                                                                                                           However, we will have no duty to defend the insured against any
                                                                                                                                           "suit" seeking damages for "bodily injury" or "property damage" to
                                                                                                                                           which this insurance does not apply. We may, at our discretion,
                                                                                                                                           investigate any "occurrence" and settle any claim or "suit" that
                                                                                                                                           may result. But:

                                                                                                                                           (1)    The amount we will pay for damages is limited as
                                                                                                                                                  described in Section III – Limits Of Insurance; and

                                                                                                                                           (2)    Our right and duty to defend ends when we have used up
                                                                                                                                                  the applicable limit of insurance in the payment of


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                                                                                                                                             judgments or settlements under Coverages A or B or
                                                                                                                                             medical expenses under Coverage C.

                                                                                                                                      No other obligation or liability to pay sums or perform acts or
                                                                                                                                      services is covered unless explicitly provided for under
                                                                                                                                      Supplementary Payments – Coverages A and B.

                                                                                                                                b.    This insurance applies to "bodily injury" and "property damage"
                                                                                                                                      only if:

                                                                                                                                      (1)    The "bodily injury" or "property damage" is caused by an
                                                                                                                                             "occurrence" that takes place in the "coverage territory";

                                                                                                                                      (2)    The "bodily injury" or "property damage" occurs during the
                                            1050 WILSHIRE DRIVE, SUITE 320, TROY, MICHIGAN 48084-1526 248-649-7800




                                                                                                                                             policy period; and
                                                                                                                                                                   . . . . (Ex 2, p 1 of 15)
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                                                                                                                          24.   The Associated Industries Insurance Policy contains the following

                                                                                                                     Insuring Agreement for Coverage B PERSONAL AND ADVERTISING INJURY
HARVEY KRUSE




                                                                                                                     LIABILITY:

                                                                                                                          COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILITY
               ATTORNEYS & COUNSELORS




                                                                                                                          1.    Insuring Agreement

                                                                                                                                a.    We will pay those sums that the insured becomes legally obligated to pay
                                                                                                                                      as damages because of "personal and advertising injury" to which this
                                                                                                                                      insurance applies. We will have the right and duty to defend the insured
                                                                                                                                      against any "suit" seeking those damages. However, we will have no duty
                                                                                                                                      to defend the insured against any "suit" seeking damages for "personal and
                                                                                                                                      advertising injury" to which this insurance does not apply. We may, at our
                                                                                                                                      discretion, investigate any offense and settle any claim or "suit" that may
                                                                                                                                      result. But:

                                                                                                                                      (1)    The amount we will pay for damages is limited as described in
                                                                                                                                             Section III – Limits Of Insurance; and
                                                                                                                                      (2)    Our right and duty to defend end when we have used up the
                                                                                                                                             applicable limit of insurance in the payment of judgments or
                                                                                                                                             settlements under Coverages A or B or medical expenses under
                                                                                                                                             Coverage C.




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                                                                                                                                           No other obligation or liability to pay sums or perform acts or services is
                                                                                                                                           covered unless explicitly provided for under Supplementary Payments –
                                                                                                                                           Coverages A and B.

                                                                                                                                    b.     This insurance applies to "personal and advertising injury" caused by an
                                                                                                                                           offense arising out of your business but only if the offense was committed
                                                                                                                                           in the "coverage territory" during the policy period. (Ex 2, p 5 of 15)

                                                                                                                           25.      The Associated Industries Insurance Policy contains the following

                                                                                                                     definitions:

                                                                                                                           Throughout this policy the words "you" and "your" refer to the Named Insured
                                                                                                                           shown in the Declarations, and any other person or organization qualifying as a
                                            1050 WILSHIRE DRIVE, SUITE 320, TROY, MICHIGAN 48084-1526 248-649-7800




                                                                                                                           Named Insured under this policy. The words "we", "us" and "our" refer to the
                                                                                                                           company providing this insurance.
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                                                                                                                           The word "insured" means any person or organization qualifying as such under
                                                                                                                           Section II – Who Is An Insured.
HARVEY KRUSE




                                                                                                                           Other words and phrases that appear in quotation marks have special meaning.
                                                                                                                           Refer to Section V – Definitions.

                                                                                                                                                                     ....
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                                                                                                                           The Declarations of the policy lists the Named Insured and Address:

                                                                                                                           Plaka Restaurant, LLC
                                                                                                                           The Greek and Level Two
                                                                                                                           535 Monroe St.
                                                                                                                           Detroit, MI 48226

                                                                                                                           SECTION II – WHO IS AN INSURED

                                                                                                                           1.       If you are designated in the Declarations as:
                                                                                                                                                            ....
                                                                                                                                    c.      A limited liability company, you are an insured. Your members
                                                                                                                                            are also insureds, but only with respect to the conduct of your
                                                                                                                                            business. Your managers are insureds, but only with respect to
                                                                                                                                            their duties as your managers.
                                                                                                                                                           ....
                                                                                                                           2.       Each of the following is also an insured:

                                                                                                                                    a.     Your "volunteer workers" only while performing duties related to
                                                                                                                                           the conduct of your business, or your "employees", other than
                                                                                                                                           either your "executive officers" (if you are an organization other

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                                                                                                                                    than a partnership, joint venture or limited liability company) or
                                                                                                                                    your managers (if you are a limited liability company), but only for
                                                                                                                                    acts within the scope of their employment by you or while
                                                                                                                                    performing duties related to the conduct of your business.
                                                                                                                                    However, none of these "employees" or "volunteer workers" are
                                                                                                                                    insureds for:
                                                                                                                                                                   ....
                                                                                                                         SECTION V – DEFINITIONS
                                                                                                                                                                    ....

                                                                                                                         3.     “Bodily injury” means bodily injury, sickness or disease sustained by a
                                                                                                                                person, including death resulting from any of these at any time.

                                                                                                                                                                      ....
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                                                                                                                         5.     “Employee” includes a “leased worker.” “Employee” does not include a
                                                                                                                                “temporary worker.”
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                                                                                                                                                                      ....

                                                                                                                         13.    "Occurrence" means an accident, including continuous or repeated
HARVEY KRUSE




                                                                                                                                exposure to substantially the same general harmful conditions.

                                                                                                                         14.    "Personal and advertising injury" means injury, including consequential
                                                                                                                                "bodily injury", arising out of one or more of the following offenses:
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                                                                                                                                a.     False arrest, detention or imprisonment;
                                                                                                                                b.     Malicious prosecution;
                                                                                                                                c.     The wrongful eviction from, wrongful entry into, or invasion of the right
                                                                                                                                       of private occupancy of a room, dwelling or premises that a person
                                                                                                                                       occupies, committed by or on behalf of its owner, landlord or lessor;
                                                                                                                                d.     Oral or written publication, in any manner, of material that slanders or
                                                                                                                                       libels a person or organization or disparages a person's or organization's
                                                                                                                                       goods, products or services;
                                                                                                                                e.     Oral or written publication, in any manner, of material that violates a
                                                                                                                                       person's right of privacy;
                                                                                                                                f.     The use of another's advertising idea in your "advertisement"; or
                                                                                                                                g.     Infringing upon another's copyright, trade dress or slogan in your
                                                                                                                                       "advertisement".
                                                                                                                                                                      ....
                                                                                                                         19.    "Temporary worker" means a person who is furnished to you to substitute
                                                                                                                                for a permanent "employee" on leave or to meet seasonal or short-term
                                                                                                                                workload conditions.

                                                                                                                         20.    "Volunteer worker" means a person who is not your "employee", and who
                                                                                                                                donates his or her work and acts at the direction of and within the scope of

                                                                                                                                                                 7
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                                                                                                                                 duties determined by you, and is not paid a fee, salary or other
                                                                                                                                 compensation by you or anyone else for their work performed for you.
                                                                                                                                 (Ex 2, p 1, 8, 9, 12, 15 of 15)

                                                                                                                           26.   The Associated Industries Insurance Policy contains the following

                                                                                                                     exclusions for Coverage A:

                                                                                                                           2.    Exclusions

                                                                                                                                 This insurance does not apply to:

                                                                                                                                 a. Expected Or Intended Injury
                                                                                                                                    “Bodily injury” or “property damage” expected or intended from the
                                            1050 WILSHIRE DRIVE, SUITE 320, TROY, MICHIGAN 48084-1526 248-649-7800




                                                                                                                                    standpoint of the insured. This exclusion does not apply to “bodily
                                                                                                                                    injury” resulting from the use of reasonable force to protect persons or
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                                                                                                                                    property.
                                                                                                                                                                       ....
                                                                                                                                 o. Personal And Advertising Injury
                                                                                                                                    “Bodily injury” arising out of “personal and advertising injury.” (Ex
HARVEY KRUSE




                                                                                                                                    2, p 2, 5 of 15)

                                                                                                                           27.   The Associated industries Insurance Policy contains the following

                                                                                                                     exclusions for Coverage B:
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                                                                                                                           2.     Exclusions

                                                                                                                                  This insurance does not apply to:

                                                                                                                                  a.    Knowing Violation Of Rights Of Another
                                                                                                                                        "Personal and advertising injury" caused by or at the direction of
                                                                                                                                        the insured with the knowledge that the act would violate the rights
                                                                                                                                        of another and would inflict "personal and advertising injury".

                                                                                                                                  b.    Material Published With Knowledge Of Falsity
                                                                                                                                        "Personal and advertising injury" arising out of oral or written
                                                                                                                                        publication of material, if done by or at the direction of the insured
                                                                                                                                        with knowledge of its falsity.
                                                                                                                                                                       ....
                                                                                                                                  d.    Criminal Acts
                                                                                                                                        "Personal and advertising injury" arising out of a criminal act
                                                                                                                                        committed by or at the direction of the insured. (Ex 2, p 5-6 of
                                                                                                                                        15).


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                                                                                                                          28.   The Associated Industries Insurance Policy contains the following

                                                                                                                     EXCLUSION – PUNITIVE DAMAGES Endorsement:

                                                                                                                          The following Exclusion is added to SECTION I – COVERAGES, paragraph 2.
                                                                                                                          Exclusions of COVERAGE A – BODILY INJURY AND PROPERTY
                                                                                                                          DAMAGE LIABILITY, paragraph 2 Exclusions of COVERAGE B –
                                                                                                                          PERSONAL AND ADVERTISING INJURY LIABILITY AND TO section I
                                                                                                                          – liquor liability coverage paragraph 2. Exclusions:

                                                                                                                          1.     Exclusions

                                                                                                                                       This insurance does not apply to:
                                            1050 WILSHIRE DRIVE, SUITE 320, TROY, MICHIGAN 48084-1526 248-649-7800




                                                                                                                                       Punitive Damages
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                                                                                                                                       Any claim of or indemnification for punitive or exemplary
                                                                                                                                       damages. If a “suit” seeking both compensatory and punitive or
                                                                                                                                       exemplary damages has been brought against you for a claim
                                                                                                                                       covered by this policy, we will provide defense for such action.
HARVEY KRUSE




                                                                                                                                       We will not have any obligation to pay for any costs, interest or
                                                                                                                                       damages attributable to punitive or exemplary damages. (Ex 2,
                                                                                                                                       EXCLUSION – PUNITIVE DAMAGES Endorsement).

                                                                                                                          29.   The Associated Industries Insurance Policy contains the following
               ATTORNEYS & COUNSELORS




                                                                                                                     EXCLUSION – ASSAULT AND BATTERY Endorsement:

                                                                                                                          A.    The following Exclusion is added to SECTION I – COVERAGES,
                                                                                                                                paragraph 2. Exclusions of COVERAGE A – BODILY INJURY AND
                                                                                                                                PROPERTY DAMAGE LIABILITY, paragraph 2. Exclusions of
                                                                                                                                COVERAGE B – PERSONAL AND ADVERTISING INJURY
                                                                                                                                LIABILITY:

                                                                                                                          2.    Exclusions

                                                                                                                                Notwithstanding any other provision of this policy, this insurance does not
                                                                                                                                apply to:

                                                                                                                                Assault and Battery

                                                                                                                                Any claim or “suit” for "bodily injury," "property damage," or "personal
                                                                                                                                and advertising injury" arising out of, in whole or in part, any assault,
                                                                                                                                battery, fight, altercation, misconduct or similar incident or act of
                                                                                                                                violence, whether caused by or at the instigation of, or at the direction of

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                                                                                                                                  the insured, his/her employees, customers, patrons, guests or any cause
                                                                                                                                  whatsoever, including, but not limited to claims of negligent or improper
                                                                                                                                  hiring practices, negligent, improper or non-existent supervision of
                                                                                                                                  employees, patrons, or guests and negligence in failing to protect
                                                                                                                                  customers, patrons or guests. As used above, “assault” and “battery”
                                                                                                                                  include sexual assault and/or sexual battery.

                                                                                                                                  We shall have no obligation to defend you, or any other insured, for any
                                                                                                                                  such loss, claim or suit. (Ex 2, EXCLUSION – ASSAULT AND
                                                                                                                                  BATTERY Endorsement).

                                                                                                                           30.    The Associated Industries Insurance Policy pursuant to the

                                                                                                                     STANDARD ADDITIONAL EXCLUSIONS Endorsement 3. EXCLUSION -
                                            1050 WILSHIRE DRIVE, SUITE 320, TROY, MICHIGAN 48084-1526 248-649-7800




                                                                                                                     DUTY TO DEFEND:
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                                                                                                                           SECTION I – COVERAGES, Paragraph 2. Exclusions of COVERAGE A –
                                                                                                                           BODILY INJURY AND PROPERTY DAMAGE LIABILITY, and Paragraph
                                                                                                                           2. Exclusions of COVERAGE B – PERSONAL AND ADVERTISING
HARVEY KRUSE




                                                                                                                           INJURY LIABILITY are amended to add the following:

                                                                                                                           Where there is no coverage under this policy, there is no duty to defend. (Ex 2,
                                                                                                                           STANDARD ADDITIONAL EXCLUSIONS ENDORSEMENT)
               ATTORNEYS & COUNSELORS




                                                                                                                           31.    Associated Industries Insurance has no duty to provide coverage or a

                                                                                                                     defense to Plaka Restaurant, LLC or any other party for any of the claims made in

                                                                                                                     the underlying action pursuant to the Associated Industries Insurance Policy for the

                                                                                                                     following reasons:

                                                                                                                                  a. There has been no fortuitous event.

                                                                                                                                  b. There has been no “occurrence” as defined by the policy.

                                                                                                                                  c. There has been no “Personal and Advertising Injury” to which the

                                                                                                                                     insurance applies.




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                                                                                                                                  d. Even if there was coverage, any and all coverage and a duty to

                                                                                                                                      defend is excluded by all of the above-cited exclusions.

                                                                                                                           WHEREFORE, plaintiff, Associated Industries Insurance Company, prays

                                                                                                                     for judgment that it has no duty to provide coverage or a defense to Plaka

                                                                                                                     Restaurant, LLC or any other party for any and all allegations and claims made

                                                                                                                     against them in the underlying action and that it is entitled to its costs and attorneys
                                            1050 WILSHIRE DRIVE, SUITE 320, TROY, MICHIGAN 48084-1526 248-649-7800




                                                                                                                     fees for having to file this action.
               A PROFESSIONAL CORPORATION




                                                                                                                                                                    Respectfully submitted,

                                                                                                                                                                    HARVEY KRUSE, P.C.
HARVEY KRUSE




                                                                                                                                                                    BY:/s/Michael F. Schmidt
                                                                                                                                                                      Attorney for Plaintiff
                                                                                                                                                                      1050 Wilshire Dr., Suite 320
                                                                                                                                                                      Troy, Michigan 48084-1526
               ATTORNEYS & COUNSELORS




                                                                                                                                                                      (248) 649-7800
                                                                                                                                                                      mschmidt@harveykruse.com
                                                                                                                     DATED: March 23, 2022




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                                                                                                                                              DEMAND FOR JURY TRIAL

                                                                                                                           NOW COMES plaintiff, ASSOCIATED INDUSTRIE INSURANCE

                                                                                                                     COMPANY, INC., by and through its attorneys, HARVEY KRUSE, P.C., and

                                                                                                                     hereby demands a trial by jury.

                                                                                                                                                               HARVEY KRUSE, P.C.

                                                                                                                                                               BY:/s/Michael F. Schmidt
                                                                                                                                                                 Michael F. Schmidt P25213
                                            1050 WILSHIRE DRIVE, SUITE 320, TROY, MICHIGAN 48084-1526 248-649-7800




                                                                                                                                                                 Attorney for Plaintiff
                                                                                                                                                                 1050 Wilshire Dr., Suite 320
               A PROFESSIONAL CORPORATION




                                                                                                                                                                 Troy, Michigan 48084-1526
                                                                                                                                                                 (248) 649-7800
                                                                                                                     Dated: March 23, 2022                       mschmidt@harveykruse.com
HARVEY KRUSE
               ATTORNEYS & COUNSELORS




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